                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

PB Michigan, LLC,                                     Case No. 23-48504
                                                      Chapter 11
     Debtor.
_______________________________/

 COVER SHEET FOR DEBTOR’S FIRST DAY MOTION FOR INTERIM
 AND FINAL ORDERS (I) AUTHORIZING THE DEBTOR TO USE CASH
 COLLATERAL; (II) PROVIDING ADEQUATE PROTECTION TO THE
PRE-PETITION LENDERS; AND (III) SCHEDULING A FINAL HEARING

         PB Michigan, LLC, (the “Debtor”), has filed a First Day Motion for Interim

and Final Orders (I) Authorizing the Debtor to Use Cash Collateral; (II)

Providing Adequate Protection to the Pre-Petition Lenders; and (III) Scheduling a

Final Hearing, which is attached to this Cover Sheet. In accordance with L.B.R.

4001-2(b) (E.D.M.), the Debtor has identified below, by page and paragraph

number, the location in the proposed order accompanying the motion of each of the

following provisions:

                      Provision                   Contained   Location in
                                                     in     Proposed Order
                                                  Proposed
                                                   Order
(1) Provisions that grant liens on the estate’s _____ Yes
claims and causes of action arising under Chapter           Page ____, ¶
5 of the Code.                                     X No     ____




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(2) Provisions that grant cross-collateralization _____ Yes
protection to the prepetition secured creditor (i.e.,             Page ____, ¶
clauses that secure prepetition debt with categories  X No        ____
of collateral that were not covered by the secured
party’s lien prepetition) other than liens granted
solely as adequate protection against diminution in
value of a prepetition creditor’s collateral.

(3) Provisions that establish a procedure or _____ Yes
conditions for relief from the automatic stay.                    Page ____, ¶
                                               X No               ____

(4) Provisions regarding the validity or perfection _____ Yes
of a secured creditor’s prepetition liens or that                 Page ____, ¶
release claims against a secured creditor.            X No        ____

(5) Provisions that prime any lien without that _____ Yes
lienholder’s consent.                                             Page ____, ¶
                                                  X No            ____

(6) Provisions that relate to a sale of substantially _____ Yes
all of the debtor’s assets.                                       Page ____, ¶
                                                        X No      ____

(7) Provisions for the payment of professional fees   X Yes
of the debtor or any committees, including any                    Page ____, ¶
carve-outs for such payments.                       _____ No      ____

(8) Provisions for the payment of prepetition debt. _____ Yes
                                                                  Page 3, ¶ 5
                                                      X No

(9) Provisions that waive the debtor’s exclusive _____ Yes
right to file or solicit acceptances of a plan during             Page ____, ¶
the time periods specified in 11 U.S.C. § 1121.       X No        ____




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(10) Provisions that require the debtor’s plan to be _____ Yes
on terms acceptable to the secured creditor.                     Page ____, ¶
                                                       X No      ____

(11) Provisions that require or prohibit specific _____ Yes
terms in the debtor’s plan.                                      Page ____, ¶
                                                    X No         ____

(12) Provisions establishing that proposing a plan _____ Yes
inconsistent with the order constitutes a default.               Page ____, ¶
                                                     X No        ____

(13) Provisions that waive surcharge under 11 _____ Yes
U.S.C. § 506(c).                                                 Page ____, ¶
                                                X No             ____

(14) Provisions that address the rights and _____ Yes
obligations of guarantors or co-obligors.                        Page ____, ¶
                                              X No               ____

(15) Provisions that prohibit the debtor from _____ Yes
seeking approval to use cash collateral without the              Page ____, ¶
secured creditor’s consent.                         X No         ____

(16) Provisions that purport to bind a subsequent _____ Yes
trustee.                                                         Page ____, ¶
                                                    X No         ____

(17) Provisions that obligate the debtor to pay any _____ Yes
of a secured creditor’s professional fees.                       Page ____, ¶
                                                      X No       ____




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                                      Steinberg Shapiro & Clark


                                      /s/ Mark H. Shapiro (P43134)
                                      Attorney for PB Michigan, LLC
                                      25925 Telegraph Road, Suite 203
                                      Southfield, MI 48033
                                      (248) 352-4700
                                      shapiro@steinbergshapiro.com
Date: September 28, 2023




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

PB Michigan, LLC,                                      Case No. 23-48504
                                                       Chapter 11
     Debtor.
_______________________________/

 DEBTOR’S FIRST DAY MOTION FOR INTERIM AND FINAL ORDERS
  (I) AUTHORIZING THE DEBTOR TO USE CASH COLLATERAL; (II)
    PROVIDING ADEQUATE PROTECTION TO THE PRE-PETITION
        LENDERS; AND (III) SCHEDULING A FINAL HEARING

         PB Michigan, LLC, (the “Debtor”), by and through its proposed counsel,

Steinberg Shapiro & Clark, for its First Day Motion for Interim and Final Orders

(I) Authorizing the Debtor to Use Cash Collateral; (II) Providing Adequate

Protection to the Pre-Petition Lenders; and (III) Scheduling a Final Hearing (the

“Motion”), states:

                                 Request for Hearing

         Through this Motion, the Debtor seeks entry of interim and final orders (i)

authorizing the Debtor to use Cash Collateral (defined below) and to provide

adequate protection to the Pre-Petition Lenders (defined below) in connection with

its use of Cash Collateral, (ii) scheduling a final hearing on this Motion (the “Final

Hearing”), and (iii) establishing notice procedures regarding this Motion.




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          Debtor must fund its postpetition operations. As a result, Debtor respectfully

requests that the Court schedule a hearing on this Motion as soon as possible.

                                            Jurisdiction

          1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334.

          2.     This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b).

          3.     Venue of this proceeding and the Motion in this District is proper

under 28 U.S.C. §§ 1408 and 1409.

                                           Background

          4.     On September 27, 2023 (the “Petition Date”), the Debtor filed its

Voluntary Petition for relief (the “Chapter 11 Case”) under Subchapter V of

Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)

commencing the above-captioned Subchapter V case (the “Case”). 1

          5.     The Debtor continues to operate its business and manage its financial

affairs and properties as a debtor-in-possession pursuant to §§ 1107(a) and 1108.

No official committee of creditors holding unsecured claims or other committees

have been formed under § 1102, and no committee is expected to be formed

consistent with § 1181 (a).


1
    Unless stated otherwise, all statutory references herein are to the Bankruptcy Code.


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      6.     Allison LeMay and Kathryn Betcher (“LeMay” and “Betcher”) are the

Members and persons in control of the Debtor.

      7.     The Declaration of Allison LeMay in Support of Debtor's Chapter 11

Petition and First Day Pleadings (“LeMay Declaration”) describes Debtor’s

background and the circumstances leading to its bankruptcy filing. See LeMay

Declaration at Dkt. No. 6.

                              The Debtor’s Business

      8.     Debtor is a Michigan limited liability company established in 2016 by

LeMay and Betcher, each as 50% members. See Dkt.t. No. 6, paragraph 2.

      9.     Prior to the Petition Date, the Debtor operated two (2) Pure Barre

fitness franchises, one of which was located in Detroit, Michigan, and the other in

Birmingham, Michigan. See Dkt. No. 6, paragraph 8.

      10.    The Debtor employs nine (9) persons as independent contractors. See

Dkt. No. 6 at paragraph 9.

                                  Cash Collateral

      11.    On the Petition Date, the Debtor, without admission, believes its cash

collateral (the “Cash Collateral”) consists of the following:

             a. Cash of approximately $554.39; and
             b. Accounts Receivable with a face value of approximately
                $27,000.00.

See Dkt. No. 6 at 19.



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      12.    Without the ability to make the payments as set forth in the Budget

(defined below), (i) the Debtor will suffer irreparable harm; (ii) its reputation will

be impaired; (iii) it will be unable to pay the ordinary expenses of operating its

business; (iv) its employees will abandon it because the Debtor will be unable to

pay for their services, and (v) the Debtor will be forced to cease operating. See

Dkt. No. 6 at 23.

      13.    The majority of the Debtor’s value arises from its on-going operations

and its ability to conduct fitness classes. If the Debtor ceases operating and is

forced to liquidate, its value will be substantially reduced. See Dkt. No. 6 at 16.

                                   Nature of Debt

      14.    The Debtor entered into a ‘Merchant Cash Advance’ agreement with

Pendulum Finance (“Pendulum”), the terms of which may have provided for the

sale or factoring of specifically identified receivables to Pendulum. Pendulum filed

a UCC financing statement with the State of Michigan statement against the

Debtor’s assets on May 11, 2018, and a continuation of that UCC financing

statement on March 13, 2023. The Debtor anticipates that Pendulum may assert a

first priority security interest in the Debtor’s Cash Collateral to secure indebtedness

in the approximate amount of $28,000.

      15.    Debtor anticipates that Pendulum will claim a first priority security

interest in all of the Cash Collateral, as defined in section 363(a) of the Bankruptcy



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Code. Debtor neither admits nor denies that Pendulum holds a lien on the Cash

Collateral, and will need to review the documents supporting the merchant cash

advance agreement.

      16.    The Debtor borrowed funds from the United States, Small Business

Administration (“SBA”) pursuant to EIDL loan program. SBA filed a UCC

financing statement with the State of Michigan statement against the Debtor’s

assets on May 29, 2020. The Debtor anticipates that Pendulum may assert a second

priority security interest in the Debtor’s Cash Collateral to secure indebtedness in

the approximate amount of $1,045,000.

      17.    Debtor anticipates that SBA will claim a first priority security interest

in all of the Debtor’s Cash Collateral.

      18.    Corporation Service Company and CT Corporation System, on behalf

of unidentified creditors, also filed UCC financing statements with the State of

Michigan statement against the Debtor’s assets on April 16, 2021, July 30, 2021,

and September 1, 2022. Upon information and belief these UCC filings may relate

to merchant cash advance companies that advanced high-interest, daily repayment

loans to the Debtor. As set forth below, in spite of the fact these creditors have

asserted liens against the Debtor, the Debtor does not believe the value of the

property of the estate comes anywhere near exceeding the debt owed to Pendulum




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and the SBA. Accordingly, any junior liens below the SBA are likely completely

unsecured.

      19.    Nothing in this Motion may be construed as an admission with respect

to liability for any indebtedness, nor should anything within this Motion be

construed as an admission with respect to the extent, status, validity, and

enforceability of any lien against any of the Debtor’s assets.

                         Request for Use of Cash Collateral

      20.    Debtor is confident that its post-petition operations will be profitable

and that it will be able to demonstrate its ability to remain profitable during this

bankruptcy proceeding and beyond. See Dkt. No. 6 at 20.

      21.    Debtor has prepared an operating budget which contains projected

revenue and an anticipated budget of necessary expenditures for the 13-week

period beginning on the Petition Date (the “Budget”). See Dkt. No. 6 and Budget

attached as Exhibit “A”.

      22.    In order to avoid immediate and irreparable harm to the Debtor and

the Debtor’s estate, the Debtor must use Cash Collateral in an amount not to

exceed $107,373, to pay the immediate operating expenses of the Debtor from the

Petition Date through January 1, 2023. See Dkt. No. 6 at paragraph 22 and Exhibit

A.




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        23.   As part of its request to use Cash Collateral, the Debtor is requesting

that this Court allow it to escrow, on a monthly basis, $1,200 into a debtor-in­

possession account earmarked to pay the professional fees incurred by its legal

counsel and the Subchapter V Trustee in connection with the bankruptcy

proceeding to the extent the fees are allowed by this Court (the “Professional

Fees”).2

        24.   The Debtor submits that the Professional Fees will remain property of

the estate, until such time that Professional Fees are allowed by Court order and

will be free and clear of the liens, claims, and encumbrances of any secured

creditors. This arrangement provides a practical and necessary mechanism for the

payment of allowed administrative expenses to Debtor’s retained legal counsel and

the Subchapter V Trustee.

                                  Adequate Protection

        25.   The Bankruptcy Code does not explicitly define “adequate

protection,” but section 361 of the Bankruptcy Code provides a nonexclusive list of

how a debtor-in-possession may provide it, including: (i) periodic cash payments,

(ii) additional or replacement liens, or (iii) other relief resulting in the “indubitable

equivalent” of the secured creditor's interest in such property.


2
 The Debtor has filed or will file an Application to Employ Steinberg Shapiro & Clark as
Counsel for the Debtor and Application to Employ Myers and Myers as Special Counsel for the
Debtor on the Petition Date.


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        26.    What constitutes adequate protection must, therefore, be decided on a

case-by-case basis. See, e.g., In re Masello, 195 B.R. 277, 289 (Bankr. S.D.N.Y.

1996); see also, In re O'Connor, 808 F.2d 1393, 1396 (10th Cir. 1987); In re

Martin, 761 F.2d 472 (8th Cir. 1985). The proposed adequate protection is

intended to protect a secured creditor from diminution in the value of its pre­

petition collateral while the Debtor uses it. See In re 494 Central Park Avenue

Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992); In re Beker Indus. Corp., 58

B.R. at 736; In re Hubbard Power & Light, 202 B.R. 680 (Bankr. E.D.N.Y. 1996).

        27.    As adequate protection under sections 363 and 361 of the Bankruptcy

Code for any security interests that First Merchants may assert, and to the extent

that the Debtor uses Cash Collateral and does not replace same, Debtor offers

replacement liens in all such types and descriptions of collateral which secured

Pendulum and the SBA’s pre-petition liabilities and which are created, acquired or

arise after the Petition Date.3

        28.    The Debtor will thereby be able to provide its secured creditors with

adequate protection through its continuing operations and through the replacement




3
 To the extent that this Court determines that any other creditor has an interest in Cash
Collateral, Debtor will offer that creditor substantially the same treatment offered in tis Motion.
The priority of the replacement liens provided to such creditor, if any, shall remain consistent
with the priority of the lien held by that creditor prior to the Petition Date.


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liens. See, e.g., Matter of Pursuit Athletic Footwear, Inc., 193 B.R. 713 (Bankr. D.

Del. 1996). 4

        29.     On the basis of the adequate protection submitted above, the Debtor

submits that it should be granted authority to use its Cash Collateral.

                   Interim Approval of the Use of Cash Collateral

        30.     Bankruptcy Rules 4001(b) and (c) provide that a final hearing on a

motion to use cash collateral pursuant to § 363, and to obtain credit under § 364

may not be commenced earlier than 14 days after the service of such motion. Upon

request, however, the Court can conduct a preliminary, expedited hearing on such a

motion and authorize the use of cash collateral to the extent necessary to avoid

immediate and irreparable to the Debtor's estate.

        31.     To avoid a disruption in the Debtor’s operations pending the Final

Hearing, the Debtor requests that the Court schedule and conduct a preliminary

hearing on the Motion and authorize the Debtor from and after the entry of the

Interim Order until the Final Hearing to use Cash Collateral pursuant to the terms

of the Interim Order.




4
 In Pursuit Athletic Footwear, the Court found that credible projections of post-petition
operating profits provided the secured creditor with adequate protection. 193 B.R. at 717-718.


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         Establishing Notice Procedures and Scheduling Final Hearing

      32.    The Debtor will: (a) immediately provide notice of the hearing on this

Motion to: (i) the United States Trustee for the Eastern District of Michigan, (ii)

Pendulum, (iii) counsel for the SBA, (iv) Corporation Service Company and CT

Corporation System, (v) the Debtor’s 20 largest unsecured creditors, and (vi) all

other parties who were required to be served under Fed. R. Bank. P. 4001(d), and

(b) give such notice by any one of the following methods which is available: (i)

ECF service; (ii) personal service; (iii) overnight mail; (iv) facsimile, or (v) e-mail.

In light of the nature of the relief requested, the Debtor submits that no other or

further notice is required.

      33.    The Debtor further respectfully requests that the Court schedule the

Final Hearing and authorize it to serve copies of any entered Interim Order, which

fixes the date, time and manner for the filing of objections, to: (i) the United States

Trustee for the Eastern District of Michigan; (ii) the Debtor’s 20 largest unsecured

creditors; (iii) Pre-Petition Lenders or their counsel; and (iv) any other party that

has filed, prior to such date, a request for notice with this Court, via ECF or first

class mail. The Debtor requests that the Court consider such notice of the Final

Hearing to be sufficient notice under Bankruptcy Rule 4001.

      34.    No previous request for the relief sought herein has been made to this

Court or any other court.



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      WHEREFORE, the Debtor respectfully requests that the Court enter an

order, substantially in the form of attached, granting the relief requested in this

Motion and granting such further relief as the Court deems appropriate.



                                         Steinberg Shapiro & Clark


                                         /s/ Mark H. Shapiro (P43134)
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Date: September 28, 2023




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

PB Michigan, LLC,                                    Case No. 23-48504
                                                     Chapter 11
     Debtor.
_______________________________/

 ORDER GRANTING DEBTOR’S FIRST DAY MOTION FOR INTERIM
 AND FINAL ORDERS (I) AUTHORIZING THE DEBTOR TO USE CASH
 COLLATERAL; (II) PROVIDING ADEQUATE PROTECTION TO THE
PRE-PETITION LENDERS; AND (III) SCHEDULING A FINAL HEARING

         Upon consideration of the Debtor’s First Day Motion for Interim and Final

Orders (I) Authorizing the Debtor to Use Cash Collateral; (II) Providing Adequate

Protection to the Pre-Petition Lenders; and (III) Scheduling a Final Hearing (the

“Motion”), upon consideration of the Declaration of Allison LeMay (the “LeMay

Declaration”); the Court having jurisdiction pursuant to sections 157 and 1334 of

Title 28 of the United States Code to consider the Motion and the relief requested

therein; venue being proper in this Court pursuant to sections 1408 and 1409 of

Title 28 of the United States Code; and this matter being a core proceeding within

the meaning of section 157 of Title 28 of the United States Code; and the Court

having determined that the relief sought in the Motion is in the best interest of the

Debtor, its creditors, and all parties-in-interest; and the Court having heard

sufficient evidence and the statements of counsel regarding the Motion and having



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determined that the legal and factual bases set forth in the Motion and attested to in

the LeMay Declaration establish just cause for the relief granted herein;

      IT APPEARS, AND THE COURT HEREBY FINDS that:

      A.     On September 27, 2023 (the “Petition Date”), the Debtor filed its

voluntary petition for relief under Chapter 11 of the Bankruptcy Code. Since the

Petition Date, the Debtor has continued in possession of its assets and has

continued to operate its business as a debtor-in-possession pursuant to sections

1107(A) and 1108 of the Bankruptcy Code.

      B.     The Debtor requires the use of the Cash Collateral for the

maintenance and preservation of its assets, and for the operation of its business and

the payment of business expenses in the ordinary course.

      C.     The relief provided herein is necessary, essential, and appropriate for

the continued operation of the Debtor’s business and the management and

preservation of its assets and is otherwise necessary to avoid immediate and

irreparable harm to the Debtor and its estate pending a final hearing on the Motion.

      NOW THEREFORE, IT IS HEREBY ORDERED that:

      1.     The Motion is granted.

      2.     All capitalized terms not defined in this Order shall have the meanings

ascribed to them in the Motion.




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      3.     The Debtor is authorized to use Cash Collateral and grant adequate

protection in accordance with the terms of the Motion.

      4.     The amount of Cash Collateral necessary for the Debtor to use to

avoid immediate and irreparable harm before the date of the final hearing or the

date this Order becomes a final order in the absence of a timely objection and final

hearing is $35,000 to pay the immediate operating expenses of the Debtor’s

business for the 30 days following the Petition Date, as set forth in the Budget. The

Debtor’s authorized use of Cash Collateral is limited to that amount prior to the

entry of a final order authorizing the Debtor to use Cash Collateral or the time this

Order becomes a final order.

      5.     The Debtor is authorized to segregate in a Debtor-In-Possession

account $300 per week earmarked for the payment of Professional Fees,

commencing no later than October 8, 2023, and on the first of each week

thereafter. The segregated funds for Professional Fees (the “Segregated Funds”)

will remain property of the estate until such time that fees are allowed under 11

USC § 330, and such funds shall be free and clear of the liens, claims and interest

of any secured creditor.

      6.     Pendulum Finance, the United States Small Business Administration,

and any other secured creditors that may claim an interest in the Cash Collateral of

the Debtor, to the extent that the Debtor uses such Cash Collateral and does not



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replace it, are hereby granted replacement liens in all types and descriptions of

collateral that were secured by the applicable pre-petition loan documents, which

are created, acquired, or arise after the Petition Date except the Segregated Funds,

but only to the extent of any diminution in the value of such Cash Collateral, to the

extent that there is any diminution.

      7.     The Debtor shall, within twenty-four (24) hours following the entry of

this Order, serve copies of this Order and the Debtor’s motion for entry of this

Order with all attachments on (i) the United States Trustee for the Eastern District

of Michigan; (ii) all secured creditors; (iii) the Debtor’s 20 largest unsecured

creditors; (iv) all other parties who are required to be served under

Fed.R.Bankr.P.4001(d); and (v) any other party that has filed, prior to such date, a

request for notice with this Court, via ECF or first class mail;.

      8.     All parties seeking to object to this Order must file a written objection

within fourteen (14) days after the entry of this Order.

      9.     If an objection is timely filed, the final hearing on this Order will be

held before the Honorable Lisa S. Gretchko, United States Bankruptcy Court for

the Eastern District of Michigan, Southern Division, 211 W. Fort Street, Detroit,

Michigan 48226, Courtroom 1975, on the ____ day of ______, 2023, at _____ to

consider such objections.




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      10.   If no timely objections are filed, then this Order will become a final

order without a further hearing, and the Debtor will be authorized to spend for

those expenses referenced in the Motion, as well as any other expenses necessary

for operating the business in the ordinary course going forward.

      11.   The Debtor’s authority to use Cash Collateral shall continue until

otherwise ordered by this Court.




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                 EXHIBIT A




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PB Michigan LLC                               Week Ending:       10/8/23    10/15/23     10/22/23     10/29/23         11/5/23   11/12/23    11/19/23     11/26/23        12/3/23   12/10/23    12/17/23     12/24/23    12/31/23         1/7/24
Rolling 13-Week Cash Forecast                  Oct 1st

DIRECT CASH FLOW

Cash Inflows from Operations
   A/R Receipts                                      1000                  $       -     $        -   $        -   $        -    $       -   $        -   $       -   $        -    $       -   $        -   $       -   $        -   $        -
   Projected Cash Receipts                                       10,000        8,500         10,000        8,500       10,000        8,500       10,000       8,500       10,000        8,500       10,000       8,500       10,000        8,500
   Detroit promissory note payment                                                                         2,030                                                           2,030
Total Cash Inflows from Operations                               10,000        8,500         10,000       10,530       10,000        8,500       10,000       8,500       12,030        8,500       10,000       8,500       10,000        8,500

Cash Outflows from Operations
   Subcontractors                                                    850         850            850          850           850         850          850         850           850         850          850         850          850          850
   Pay LeMay                                                       2,000       2,000          2,000        2,000         2,000       2,000        2,000       2,000         2,000       2,000        2,000       2,000        2,000        2,000
   Pay Betcher                                                     2,000       2,000          2,000        2,000         2,000       2,000        2,000       2,000         2,000       2,000        2,000       2,000        2,000        2,000
   Credit card processing fees                                       400         350            400          350           400         350          400         350           400         350          400         350          400          250
   Royalty 9%                                                        900         720            900          720           900         720          900         720           900         720          900         720          900          720
   DTE                                                               460                                                   460                                                460                                               460
   Internet/phone                                                                               171                                                 171                                                171
   Rent                                                            1,500       1,500          1,500        1,500         1,500       1,500        1,500       1,500         1,500       1,500        1,500       1,500        1,500        1,500
   Professional Fees                                                 300         300            300          300           300         300          300         300           300         300          300         300          300          300
   Supplies                                                          150                        150                        150                      150                       150                      150                      150
   Misc retail/socks                                                 300                        300                        300                      300                       300                      300                      300

   SUBTOTAL - NON-ACCOUNTS PAYABLE PAYMENTS                        8,860       7,720          8,571        7,720         8,860       7,720        8,571       7,720         8,860       7,720        8,571       7,720        8,860        7,620

                                                                       -           -             -            -              -          -            -           -              -          -            -           -            -             -
                                                                                   -             -            -              -          -            -           -              -          -            -           -            -             -
                                                                   8,860       7,720          8,571        7,720         8,860       7,720        8,571       7,720         8,860       7,720        8,571       7,720        8,860         7,620

                                                                   1,140         780          1,429        2,810         1,140         780        1,429         780         3,170         780        1,429         780        1,140           880



                                                                       -           -             -            -              -          -            -           -              -          -            -           -            -             -
                                                                       -           -             -            -              -          -            -           -              -          -            -           -            -             -

                                                                       -           -             -            -              -          -            -           -              -          -            -           -            -             -
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Net Cash Flows from Financing Activities                               -           -             -            -              -          -            -           -              -          -            -           -            -             -

NET DIRECT CASH FLOWS                                        $     1,140   $     780     $    1,429   $    2,810   $     1,140   $     780   $    1,429   $     780   $     3,170   $     780   $    1,429   $     780   $    1,140   $       880




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